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 6                               UNITED STATES DISTRICT COURT

 7                                       DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                          ) 2:11-CR-334-APG-(GWF)
                                                      )
 9                          Plaintiff,                )
                                                      )
10           v.                                       ) Final Order of Forfeiture
                                                      )
11 TRACEY BROWN,                                      )
                                                      )
12                          Defendant.                )
13           The United States District Court for the District of Nevada entered a Preliminary Order

14 of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States Code,

15 Section 924(d)(1) with Title 28, United States Code, Section 2461(c); and Title 18, United

16 States Code, Section 924(d)(1), (2)(C), and (3)(A) with Title 28, United States Code, Section

17 2461(c), based upon the jury verdict finding defendant Tracey Brown guilty of criminal

18 offenses, forfeiting specific property set forth in the Settlement Agreement and the Forfeiture

19 Allegations of the Superseding Indictment and shown by the United States to have the requisite

20 nexus to the offenses to which defendant Tracey Brown was found guilty. Superseding

21 Indictment, ECF No. 146; Minutes of Jury Trial, ECF No. 199; Verdict Form, ECF No. 200;

22 Settlement Agreement for Entry of Preliminary Order of Forfeiture as to Tracey Brown and

23 Order, ECF No. 213; Preliminary Order of Forfeiture, ECF No. 219.

24           This Court finds the United States of America published the notice of forfeiture in

25 accordance with the law via the official government internet forfeiture site, www.forfeiture.gov,

26 / / /
           Case
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 1 consecutively from November 5, 2015, through December 4, 2015, notifying all potential third

 2 parties of their right to petition the Court. Notice of Filing Proof of Publication, ECF No. 223.

 3           This Court finds no petition was filed herein by or on behalf of any person or entity and

 4 the time for filing such petitions and claims has expired.

 5           This Court finds no petitions are pending with regard to the property named herein and

 6 the time for presenting such petitions has expired.

 7           THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all

 8 right, title, and interest in the property hereinafter described is condemned, forfeited, and vested

 9 in the United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R.

10 Crim. P. 32.2(c)(2); Title 18, United States Code, Section 924(d)(1) with Title 28, United States

11 Code, Section 2461(c); Title 18, United States Code, Section 924(d)(1), (2)(C), and (3)(A) with

12 Title 28, United States Code, Section 2461(c); and Title 21, United States Code, Section

13 853(n)(7) and shall be disposed of according to law:

14               1. Any and all firearms, including, but not limited to, a 12-gauge Revelation

15                  Western Auto Supply Company shotgun, model # R310AB, bearing serial number

16                  H518278; and

17               2. Any and all ammunition

18 (all of which constitutes property).

19           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited

20 funds, including but not limited to, currency, currency equivalents, certificates of deposit, as well

21 as any income derived as a result of the United States of America’s management of any property

22 forfeited herein, and the proceeds from the sale of any forfeited property shall be disposed of

23 according to law.

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       Case
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1          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send copies

2 of this Order to all counsel of record.

3          Dated: August
           DATED  this ___ 12,
                           day 2016.
                               of ________________, 2016.

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6                                           UNITED STATES DISTRICT JUDGE
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